Case 5:21-cv-10982-JEL-APP ECF No. 10, PageID.386 Filed 07/20/21 Page 1 of 3




             UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN


YPSILANTI ART THEATRE CORP.,
d/b/a Deja Vu Showgirls Ypsilanti; and
M.I.C. LIMITED INC.,

      Plaintiffs,                               Case No.: 5:21-cv-10982

v.                                              Hon. Judith E. Levy
                                                Hon. Anthony P. Patti
CITY OF YPSILANTI; CITY OF                            by referral
YPSILANTI PLANNING COMMISSION;
ANDY AAMODT, in his Official Capacity
as the City Planner; and JOE MEYERS,
in his Official Capacity as the City of
Ypsilanti Director of Economic
Development,
      Defendants.


      STIPULATED ORDER EXTENDING TIME FOR PLAINTIFFS’
      RESPONSE TO DEFENDANT’S MOTION TO DISMISS [Doc. 9].


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Case 5:21-cv-10982-JEL-APP ECF No. 10, PageID.387 Filed 07/20/21 Page 2 of 3




      NOW COME all the above-captioned parties and pursuant to Fed. R. Civ. P.
6(b)(1) hereby submit this stipulated order extending Plaintiffs an additional 7-days
to respond to Defendants’ Motion to Dismiss [Doc. 9], such that Plaintiffs’ response
is due on or before July 27, 2021.
      1.     Defendants’ Motion to Dismiss [Doc. 9] (the “Motion”) was filed on
July 6, 2021.
      2.     Pursuant to E. D. Mich. LR 7.1, since the Motion was not strictly
predicated on Fed. R. Civ. P. 12(b), Defendants’ response to the motion is due within
fourteen (14) days, on or before July 20, 2021.
      3.     Plaintiffs’ Motion seeks dismissal via abstention under Younger v.
Harris, 401 U.S. 37 (1971). Plaintiffs require a small extension of time to fully
respond to the issues raised by the Motion.
      4.     The present motion is not submitted for improper delay and will not
unfairly prejudice any party.
THE PARTIES HEREBY STIPULATE AND AGREE:
      5.     Plaintiffs’ response to the Motion shall be timely if filed on or before
July 27, 2021.


IT IS SO STIPULATED AND AGREED.


Dated: July 20, 2021                                /s/ Matthew J. Hoffer
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                                         2
Case 5:21-cv-10982-JEL-APP ECF No. 10, PageID.388 Filed 07/20/21 Page 3 of 3




                                         Attorneys for Plaintiffs
                                         Ypsilanti Art Theatre Corp., and
                                         M.I.C. Limited Inc.

Dated: July 20, 2021                     /s/ Lauri B. Stewart (w/ perm. MJH)
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IT IS SO ORDERED.
Date: July 20, 2021                s/Judith E. Levy
                                   JUDITH E. LEVY
                                   United States District Judge




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